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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8                                             )    No. CR-23-00680-PHX-DJH
      United States of America,
 9                                             )
                                               )    FINDINGS AND RECOMMENDATION
                             Plaintiff,        )    OF THE MAGISTRATE JUDGE UPON A
10                                             )
      vs.                                           PLEA OF GUILTY AND ORDER
11                                             )
                                               )
      Jordan Dave Persad,                      )
12                                             )
13                          Defendant.         )
                                               )
14                                             )

15   TO THE HONORABLE DIANE J. HUMETEWA, UNITED STATES DISTRICT JUDGE:
16          Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the Federal
17   Rules of Criminal Procedure, this matter came on for hearing before United States
18   Magistrate Judge John Z. Boyle on June 5, 2023, with the written consents of Defendant,
19   counsel for Defendant, and counsel for the United States of America.
20          The undersigned Magistrate Judge accepted Defendant’s waiver of indictment after
21   inquiry was made of Defendant as to the understanding of the right to prosecution by
22   indictment. Defendant’s written waiver constitutes a part of the plea agreement lodged with
23   the Court.
24          The hearing on Defendant’s plea of guilty was in full compliance with Rule 11 of
25   the Federal Rules of Criminal Procedure, before the undersigned Magistrate Judge in open
26   court and on the record. In consideration of that hearing and the statements made by
27   Defendant under oath on the record and in the presence of counsel, and the remarks of the
28   Assistant United States Attorney and of counsel for Defendant,
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 1           I FIND as follows:
 2           (1) that Defendant understands the nature of the charge to which Defendant pleads
 3   and the elements of the offense(s) to which Defendant is pleading guilty;
 4           (2) that Defendant understands the right to trial by jury, to persist in a plea of not
 5   guilty, to the assistance of counsel, and appointed counsel if necessary at trial and at every
 6   other stage of the proceeding, to confront and cross-examine adverse witnesses, the right
 7   against compelled self-incrimination, to testify and present evidence, and to compel the
 8   attendance of witnesses;
 9           (3) that Defendant understands any maximum possible penalty for the offense to
10   which Defendant is pleading guilty, including imprisonment, fine and supervised release,
11   and where applicable, any mandatory minimum penalty; that Defendant understands the
12   effect of the supervised release term; that Defendant understands the Court’s authority to
13   order restitution and its obligation to impose a special assessment and any applicable
14   forfeiture;
15           (4) that Defendant understands the Court’s obligation to calculate the applicable
16   sentencing guideline range and to consider that range, possible departures under the
17   Sentencing Guidelines, and other sentencing factors under 18 U.S.C. § 3553(a); that
18   Defendant understands that the sentencing guidelines are advisory, not mandatory, and that
19   the Court may sentence outside those guidelines;
20           (5) that Defendant understands that answers given by Defendant may later be used
21   in a prosecution for perjury or false statement;
22           (6) that Defendant understands that by pleading guilty Defendant is waiving the
23   right to a jury trial;
24           (7) that Defendant understands the terms of any plea agreement provision waiving
25   the right to appeal or to collaterally attack the sentence, and has knowingly, intelligently
26   and voluntarily waived those rights;
27           (8) that the plea of guilty by Defendant has been knowingly and voluntarily made
28   and is not the result of force or threats or of promises apart from the plea agreement


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 1   between the parties;
 2            (9) that Defendant is competent to plead guilty;
 3            (10) that Defendant is satisfied with the representation provided by defense counsel;
 4   and
 5            (11) that there is a factual basis for Defendant’s plea.
 6            I RECOMMEND that the Court accept Defendant’s plea of Guilty to the
 7   Information.
 8                                               ORDER
 9            IT IS ORDERED that any objection to the guilty plea proceedings and any request
10   for supplementation of those proceedings be made by the parties in writing and shall be
11   specific as to the objection or request made. All objections or requests for supplementation
12   shall be filed within fourteen (14) days of the date of service of a copy of these findings
13   unless extended by an Order of the assigned judge.
14            IT IS FURTHER ORDERED that any letters, documents, or other matters
15   Defendant would like the sentencing judge to consider before sentencing (including the
16   English translation of any writings not in English) must be submitted in paper form with
17   the original to the probation office and copies to the sentencing judge and opposing counsel
18   no later than five (5) business days prior to the sentencing date or they may be deemed
19   untimely by the sentencing judge and not considered. No more than ten (10) character
20   letters shall be submitted by defense counsel, unless otherwise ordered by the Court.
21   Character letters shall not be mailed directly to the sentencing judge by any family
22   members or other persons writing in support of Defendant. Character letters or a notice of
23   service of such letters shall not be filed electronically unless otherwise ordered by the
24   Court.
25            IT IS FURTHER ORDERED that any motions for upward or downward
26   departures or any sentencing memoranda must be filed at least seven (7) business days
27   prior to the sentencing date. Responses are due three (3) business days prior to the
28   sentencing date.      Any motion to continue sentencing must be filed promptly upon


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 1   discovery of the cause for continuance and must state the cause with specificity. Motions
 2   to continue sentencing filed fewer than fourteen (14) days before sentencing are disfavored.
 3   If either party intends to call a speaker at sentencing, other than the Defendant, counsel
 4   must notify the Courtroom Deputy at least 3 business days in advance.
 5          DATED this 5th day of June, 2023.
 6                                                             Honorable John Z. Boyle
                                                               United States Magistrate Judge
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